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UNITED STATES DISTRICT COURT LED
SOUTHERN DISTRICT OF TEXAS JUL 42 2016
HOUSTON DIVISION
Denld & Bradley, Clerk of Court

UNITED STATES OF AMERICA §

§
vs. & CRIMINAL NO. /$ac4e!
MICHAEL LEE PRICE, : UNDER SEAL
Defendant. :

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INDICTMENT

THE GRAND JURY CHARGES THAT:

COUNT 1
(Illegal Possession of a Machine Gun)
(Title 18 U.S.C. §922(0))
On or about June 18, 2018, in the Houston Division of the Southern District

of Texas, the defendant,

MICHAEL LEE PRICE
did knowingly possess a machine gun, that is, an AR-15 style, with Palmetto upper
receiver,

In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).
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COUNT 2
(Possession of Unregistered Machine Gun)
(Title 26 U.S.C. §5861(d))
On or about June 18, 2018, in the Houston Division of the Southern District
of Texas, the defendant,
MICHAEL LEE PRICE,
did knowingly possess a firearm as defined in 26 U.S.C. § 5845(a), to wit: a machine
gun, that is, an AR-15 style, with Palmetto upper receiver, which was not registered

to him in the National Firearms Registration and Transfer Record,

All in violation of Title 26, United States Code, Section 5861(d).

Notice of Criminal Forfeiture

Pursuant to Title 18 United States Code, Section 924(d)(1) and Title 28,
United States Code, Section 2461, the United States hereby gives notice that all
firearms and ammunition involved in or used in the commission of the offenses in
violation of Title 18, United States Code, Sections 922(0) and 924(a)(2), and Title
26, United States Code, Section 5861(d), charged in Counts One and Two, are
subject to forfeiture.

1. AR 15 style machine guns with Palmetto upper receivers

2. Any and all ammunition.
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A TRUE BILL:
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Original Signature on File

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FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK
United States Attorney

(Ea

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